                                          Case:15-30042-SDB Doc#:110 Filed:07/31/19 Entered:07/31/19 17:04:42                                                         Page:1 of 6
                                                                                       Form 1
                                                                                                                                                                                                         Page: 1-1
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:     15-30042-SDB                                                                                                                Trustee Name:        (300012) Joy R. Webster
Case Name:      Clements, Peggy S.                                                                                                        Date Filed (f) or Converted (c): 02/16/2015 (f)
                                                                                                                                          § 341(a) Meeting Date:       04/16/2015
For Period Ending:       06/30/2019                                                                                                       Claims Bar Date: 09/23/2016

                                                      1                                           2                              3                            4                      5                          6

                                            Asset Description                                  Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                    Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                   and Other Costs)                                                             Remaining Assets

    1       115 Ovid Dr., Dublin, GA                                                                  140,000.00                        140,000.00                                        38,926.24                          FA
            Secondary Residence - Single Family Home
            home and lot (tax value: $185,658; FMV: $140,000 - 2 houses for sale on block
            listed for $180,000. New homes been for sale forever. Debtor's home build in
            1980s. Needs hot water heater. No repairs since 1980s other than heating & air
            unit. Pool repair will cost $10,000; cracks in the walls) to be surrendered

    2       checking account at Atlantic South                                                             300.00                           300.00                                               0.00                        FA

    3       misc furniture, appliances & electronics located                                               250.00                           250.00                                               0.00                        FA

    4       misc clothing on person and at residence                                                       250.00                           250.00                                               0.00                        FA

    5       misc jewelry on person and at residence                                                     1,045.00                               0.00                                              0.00                        FA

    6       whole life insurance policy (no cash value)                                                      0.00                              0.00                                              0.00                        FA

    7       retirement                                                                                  7,000.00                          7,000.00                                               0.00                        FA

    8       2013 Ford Edge                                                                             18,211.00                               0.00                                              0.00                        FA

    8       Assets               Totals          (Excluding unknown values)                       $167,056.00                         $147,800.00                                        $38,926.24                     $0.00



        Major Activities Affecting Case Closing:
                                       All assets have been liquidated by prior trustee. I will review claims and proceed with the TFR.

                                       07/30/2018 - I have determined that the case is administratively insolvent. I will proceed with closure and pro rate fees.

                                       07/30/2019 - I have requested the fee application or time from the previous trustee but have not received it. They have indicated that they are working
                                       on it. I am ready to close the case when it is received.

        Initial Projected Date Of Final Report (TFR):                       12/30/2017                               Current Projected Date Of Final Report (TFR):                        12/30/2019
                                           Case:15-30042-SDB Doc#:110 Filed:07/31/19 Entered:07/31/19 17:04:42                                                      Page:2 of 6
                                                                                     Form 2                                                                                                            Page: 2-1
                                                                     Cash Receipts And Disbursements Record
Case No.:                      15-30042-SDB                                                                      Trustee Name:                  Joy R. Webster (300012)
Case Name:                     Clements, Peggy S.                                                                Bank Name:                     Bank of Kansas City
Taxpayer ID #:                 **-***6153                                                                        Account #:                     ******0238 Checking
For Period Ending:             06/30/2019                                                                        Blanket Bond (per case limit): $4,055,000.00
                                                                                                                 Separate Bond (if applicable): N/A

    1            2                                3                                                          4                                              5                        6                     7

  Trans.    Check or                  Paid To / Received From                             Description of Transaction                     Uniform          Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                                                     Tran. Code          $                       $

 07/21/16     {1}        McCallar Raymer                                  Excess proceeds from foreclosure                              1110-000                38,926.24                                      38,926.24

 07/29/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),   2600-000                                            10.88              38,915.36
                                                                          and 507(a)(2)

 08/31/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),   2600-000                                            57.68              38,857.68
                                                                          and 507(a)(2)

 09/30/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),   2600-000                                            55.73              38,801.95
                                                                          and 507(a)(2)

 10/31/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),   2600-000                                            57.51              38,744.44
                                                                          and 507(a)(2)

 11/30/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),   2600-000                                            55.57              38,688.87
                                                                          and 507(a)(2)

 12/30/16                Bank of Kansas City                              Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)(1),   2600-000                                            57.34              38,631.53
                                                                          and 507(a)(2)

 01/20/17                Transfer of Funds to Successor Trustee Webster   Outgoing Wire Transfer                                        9999-000                                         38,631.53                  0.00

                                                                            COLUMN TOTALS                                                                        38,926.24               38,926.24                  $0.00
                                                                                    Less: Bank Transfers/CDs                                                          0.00               38,631.53
                                                                            Subtotal                                                                             38,926.24                  294.71
                 true                                                               Less: Payments to Debtors                                                                                 0.00

                                                                            NET Receipts / Disbursements                                                        $38,926.24                 $294.71




                                                                                                                                                                                                           false

{ } Asset Reference(s)                                                                                                                                                       ! - transaction has not been cleared
                                             Case:15-30042-SDB Doc#:110 Filed:07/31/19 Entered:07/31/19 17:04:42                                                  Page:3 of 6
                                                                                      Form 2                                                                                                         Page: 2-2
                                                                      Cash Receipts And Disbursements Record
Case No.:                       15-30042-SDB                                                                    Trustee Name:                 Joy R. Webster (300012)
Case Name:                      Clements, Peggy S.                                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***6153                                                                      Account #:                    ******4666 Checking Account
For Period Ending:              06/30/2019                                                                      Blanket Bond (per case limit): $4,055,000.00
                                                                                                                Separate Bond (if applicable): N/A

    1            2                               3                                                          4                                              5                       6                     7

  Trans.    Check or                   Paid To / Received From                            Description of Transaction                   Uniform          Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                                                   Tran. Code          $                       $

 01/20/17                Transfer of Case Funds from Trustee Bourdeaux    Successor Trustee Incoming Wire                              9999-000                38,631.53                                     38,631.53

 01/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           20.37              38,611.16

 02/02/17                Capital City Bank                                Settlement of excess funds - Per Order dated 1/18/17         4110-002                                        35,426.24              3,184.92

 02/13/17     101        Akin, Webster & Matson, P.C.                     BOND PREMIUM PAYMENT ON LEDGER BALANCE AS OF                 2300-000                                           12.69               3,172.23
                                                                          12/31/2016 FOR CASE #15-30042, Reimbursement of Bond
                                    Attorneys at Law, P.O. Box 1773       Payment - Check No. 4339 - Bond No. 016027934
                                    Macon, GA 31202

 02/28/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,162.23

 03/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,152.23

 04/28/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,142.23

 05/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,132.23

 06/30/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,122.23

 07/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,112.23

 08/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,102.23

 09/29/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,092.23

 10/31/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,082.23

 11/30/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,072.23

 12/29/17                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,062.23

 01/31/18                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,052.23

 02/22/18     102        Akin, Webster & Matson, P.C.                     BOND PREMIUM PAYMENT ON LEDGER BALANCE AS OF                 2300-000                                             0.93              3,051.30
                                                                          12/31/2017 FOR CASE #15-30042, Reimbursement of Bond
                                    Attorneys at Law, P.O. Box 1773       Payment - Check No. 4684 - Bond No. 016027934
                                    Macon, GA 31202

 02/28/18                Rabobank, N.A.                                   Bank and Technology Services Fee                             2600-000                                           10.00               3,041.30




                                                                                                                                 Page Subtotals:           $38,631.53             $35,590.23             true

{ } Asset Reference(s)                                                                                                                                                     ! - transaction has not been cleared
                                          Case:15-30042-SDB Doc#:110 Filed:07/31/19 Entered:07/31/19 17:04:42                                                         Page:4 of 6
                                                                                      Form 2                                                                                                             Page: 2-3
                                                                      Cash Receipts And Disbursements Record
Case No.:                       15-30042-SDB                                                                        Trustee Name:                 Joy R. Webster (300012)
Case Name:                      Clements, Peggy S.                                                                  Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***6153                                                                          Account #:                    ******4666 Checking Account
For Period Ending:              06/30/2019                                                                          Blanket Bond (per case limit): $4,055,000.00
                                                                                                                    Separate Bond (if applicable): N/A

    1            2                                3                                                             4                                              5                       6                     7

  Trans.    Check or                  Paid To / Received From                                  Description of Transaction                  Uniform          Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                                                       Tran. Code          $                       $

 03/30/18                Rabobank, N.A.                                        Bank and Technology Services Fee                            2600-000                                           10.00              3,031.30

 04/30/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                           10.00              3,021.30

 05/31/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                           10.00              3,011.30

 06/29/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                           10.00              3,001.30

 07/31/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                           10.00              2,991.30

 08/31/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                           10.00              2,981.30

 09/28/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                            5.00              2,976.30

 10/31/18                Rabobank, N.A.                                        Bank and Technology Services Fees                           2600-000                                            5.00              2,971.30

 02/11/19     103        Akin, Webster & Matson, P.C.                          Reimbursement of Bond Payment - Check No. 4976, Bond        2300-000                                            0.92              2,970.38
                                                                               No. 016027934
                                    P.O. Box 1773
                                    Macon, GA 31202

 04/24/19                Transfer Debit to Metropolitan Commercial Bank acct   Transition Debit to Metropolitan Commercial Bank acct       9999-000                                        2,970.38                   0.00
                         ******1293                                            3910031293

                                                                                 COLUMN TOTALS                                                                     38,631.53               38,631.53                  $0.00
                                                                                         Less: Bank Transfers/CDs                                                  38,631.53                2,970.38
                                                                                 Subtotal                                                                               0.00               35,661.15
                 true                                                                    Less: Payments to Debtors                                                                              0.00

                                                                                 NET Receipts / Disbursements                                                         $0.00            $35,661.15




                                                                                                                                                                                                             false

{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
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                                                                                      Form 2                                                                                                         Page: 2-4
                                                                      Cash Receipts And Disbursements Record
Case No.:                       15-30042-SDB                                                                       Trustee Name:                 Joy R. Webster (300012)
Case Name:                      Clements, Peggy S.                                                                 Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:                  **-***6153                                                                         Account #:                    ******1293 Checking Account
For Period Ending:              06/30/2019                                                                         Blanket Bond (per case limit): $4,055,000.00
                                                                                                                   Separate Bond (if applicable): N/A

    1            2                                3                                                            4                                              5                      6                    7

  Trans.    Check or                  Paid To / Received From                                 Description of Transaction                  Uniform          Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                                                                      Tran. Code          $                       $

 04/24/19                Transfer Credit from Rabobank, N.A. acct ******4666   Transition Credit from Rabobank, N.A. acct 5018464666      9999-000                2,970.38                                    2,970.38

                                                                                 COLUMN TOTALS                                                                    2,970.38                  0.00              $2,970.38
                                                                                         Less: Bank Transfers/CDs                                                 2,970.38                  0.00
                                                                                 Subtotal                                                                             0.00                  0.00
                 true                                                                    Less: Payments to Debtors                                                                          0.00

                                                                                 NET Receipts / Disbursements                                                        $0.00                 $0.00




                                                                                                                                                                                                          false

{ } Asset Reference(s)                                                                                                                                                       ! - transaction has not been cleared
                            Case:15-30042-SDB Doc#:110 Filed:07/31/19 Entered:07/31/19 17:04:42                           Page:6 of 6
                                                          Form 2
                                                                                                                                                Page: 2-5
                                          Cash Receipts And Disbursements Record
Case No.:            15-30042-SDB                                          Trustee Name:                 Joy R. Webster (300012)
Case Name:           Clements, Peggy S.                                    Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:       **-***6153                                            Account #:                    ******1293 Checking Account
For Period Ending:   06/30/2019                                            Blanket Bond (per case limit): $4,055,000.00
                                                                           Separate Bond (if applicable): N/A




                                                   TOTAL - ALL ACCOUNTS                        NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                   ******0238 Checking                                $38,926.24              $294.71           $0.00

                                                   ******4666 Checking Account                                  $0.00              $35,661.15          $0.00

                                                   ******1293 Checking Account                                  $0.00                   $0.00      $2,970.38

                                                                                                        $38,926.24                 $35,955.86      $2,970.38
